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                                                       September 14, 2022
 BY ECF
 Honorable Vera M. Scanlon
 United States Magistrate Judge
 United States Courthouse
 225 Cadman Plaza E.
 Brooklyn, NY 11201

                           Re: 20-cv-02464, Zuniga Cespedes v. Newmark Wood Working Group
                                  Inc. et al


 Your Honor:

         This office represents Plaintiffs in the above referenced matter. Plaintiffs write with respect
 to the Court’s order of August 17, 2022. In this Order the Court ruled that, inter alia, the Plaintiff
 did not sufficiently allege facts supporting FLSA coverage of the defendant business, and further
 noted the open question as to whether the Plaintiff has Article III standing to pursue NYLL
 statutory claims in Federal Court.

         Given recent decisions in this District regarding state statutory claims and the fact that
 these damages comprise a large percentage of the Plaintiff’s total damages, we have concluded
 that Plaintiff’s claims against Defendants would be best brought in New York State Court. As the
 causes of action accrued within the six-year statute of limitations, there is no prejudice to Plaintiff.
 Thus, in lieu of filing an additional amended complaint, we respectfully request to discontinue the
 instant action without prejudice.

         We thank the Court for its time and attention to this matter.

                                                     Respectfully submitted,

                                                     /s/
                                                     Catalina Sojo, Esq.
                                                     CSM LEGAL, P.C.
                                                     Attorneys for the Plaintiff




                           Certified as a minority-owned business in the State of New York
